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                      UN ITED STATES DISTRICT COURT FOR THE
                           SO U TH ERN DISTR ICT OF FLO RID A
                         CaseNum ber:18-23762-CIV-M OItENO

EVELYNE PETIGNY,
              Plaintiff,


 w A L-M A RT s'ro u s EA ST L.P. JA M ES
 REINARD,andRACHELLEIERIèLES,
              Defendants.
                                     /
     ORDER DENYING M OTION FOR REM AND AND GRANTING M OTIONS TO
                               DISM ISS
        Plaintiffissuing DefendantW al-M artStoresEast,L.P.and itstwo store m anagersfora

 slip-and-fallaccident she suffered atDefendant's store. The Defendants removed thiscase to

 federalcourtand arealleging thatPlaintifffraudulentlyjoinedthetwo storemanagersto defeat
 completediversity.ThisCourtagreesasone ofthem anagerswasnotatwork when theaccident

 occurred and the other store m anager'sdeclaration establishesshe had no active involvem entin

 causing thePlaintiff'saccident. Accordingly,the CourtdeniesthePlaintiff'sm otion forremand

 and dismissesthetwo individualDefendants.TheCourtadditionally hasanalyzed thePlaintiff's

 negligent mode of operation claim and finds it is not sustainable under Florida Statute j

 768.7055.
        THIS CAUSE camebeforetheCourtuponPlaintiffsM otion forRemand (D.E.9),filed
 on October12.2018,RachellePericles'sMotiontoDismiss(D.E.6)filedon October5.2018,
 JamesReinard'sMotion toDismiss(D.E.7)filed on October5.2018,and W al-mart'sM otion

 toDismiss(D.E.8)filed on October11.2018.
        THE COURT has considered the motions,the responses,the pertinent portions of the

  record,and being otherwisefully advised in thepremises,itis
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       ADJUDGED thatthe m otion for rem and is DENIED and the motions to dismiss are

G RAN TED . Plaintiff m ay file an am ended com plaint againstD efendant W al-M artStores East,

L.P.,byno laterthan Novem ber27,2018.

                                     1.     Backzround
       Plaintiff,Evelyne Petigny,a Florida resident,is suing Defendant W al-M artStoresEast,

 L.P,and store managers Jam esReinard and Rachelle Pericles.Plaintiff claims thaton July 1,

 2014,she slipped and fellon grapes on the floor atDefendant's store,causing her to sustain

          On April24,2018,Plaintiff brought suitin state courtand Defendants rem oved the
 injuries.
 casetofederalcourton thebasisofdiversityjurisdiction.See28U.S.C.j 1441,etseq.,and28
 U.S.C.j 1332(a)(1).Plaintiffnow movesto remand arguing thatthestoremanagers'residence
 destroys com plete diversity. Defendants, however, contend that the store m anagers, Jam es

 ReinardandRachellePericles,werefraudulentlyjoinedtoevaderemoval.
        Forthereasonsexplained below,the Courtagreeswith Defendantsand Plaintiff sm otion

 to remand isDENIED .
                                   ll.     L ezalStandards

        A.     M otion forR em and
        Onamotion to remand,theremovingpartybearstheburden ofestablishingjurisdiction.
  Tapscottv.MS DealerServ.Corp.,77F.3d 1353,1356-57(11th Cir.1996),overruled onother
 groundsby Cohen v.Ofhce Depot,Inc.,204 F.3d 1069 (11th Cir.2000). Theremovalstatute
  should beconstrued narrowly,with uncertaintiesresolved in favorofrem and.D iaz v.Sheppard,

  85F.3d 1502,1505(11th Cir.1996). df-f'heburden ofpleading diversity ofcitizenship isupon
  thepartyinvoking federaljurisdiction,and ifjurisdiction isproperly challenged,thatparty also
  bearsthe burden of proof.''Rolling Greens M HP,L.P.v.ComcastSCH Holdings L.L.C ,374

  F.3d 1020,1022 (11th Cir.2004)(quotingRay v.Bird & Son drAssetRealizationCo.,519F.2d
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 1081,1082(5th Cir.1975)).
       B.      M otion to D ism iss

       6$To survive a m otion to dism iss, plaintiffs m ust do m ore than m erely state legal

conclusions,''instead plaintiffsm ustkdallege som e specific factualbasisforthose conclusionsor

facedismissaloftheirclaims.''Jackwn v.Bellsouth Telecomm.,372 F.3d 1250,1263(11th Cir.
 2004). W henruling on amotion to dismiss,acourtmustview thecomplaintin the lightmost
favorable to the plaintiff and acceptthe plaintiffs well-pleaded facts as true. See St.Joseph'
                                                                                             s

Hosp.,lnc.v.Hosp.Corp.ofAm.,795F.2d948,953(11thCir.1986).Thistenet,however,does
notapplytolegalconclusions.SeeAshcrop v.Iqbal,129 S.Ct.1937,1949(2009).M oreover,
 Sllwjhilelegalconclusionscanprovidetheframeworkofacomplaint,theymustbesupported by
 factualallegationsv''1d.at1950. Those''lqactualallegationsmustbeenough toraisearightto
relief above the speculative level on the assum ption that all of the com plaint's allegations are

true.'' BellAtl.Corp.v.Twombly,550U.S.544,545 (2007). ln short,thecomplaintmustnot
m erely allege amisconduct,butmustdemonstratethatthe pleaderisentitled to relief. SeeIqbal,

 129 S.Ct.at1950

                                         111.   Analvsis

       A.      M otion forRem and

       Fora case to travelin federalcourtunder diversity jurisdiction,the parties mustbe
 completely diverse and the am ount-in-controversy m ust exceed $75,000.See Underwriters

Lloyd'
     sLondon,v.Osting-schwinn,6l3F.3d 1079,1085 (11th Cir.2010))28U.S.C.j 1332(a).
A t issue in the m otion for rem and is w hether there is com plete diversity, as the parties do not

disputethejurisdictionalamountismet.
               1.     FraudulentJoinder



                                                3
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        k$A defendant's right to removal cannot be defeated by a fraudulent joinder of a
 residentialdefendant having had no realconnection to the controversy.''Thomas v.Big Lots

 Stores,lnc.,No.8:11-cv-673-T-33AEP,2011 W L 3035269,at*2 (M .D.Fla.July 25,2011)
 (internalcitationsand quotationsomitted).Ctloindermaybedeemed fraudulentwhen thereisno
 possibility thattheplaintiffcan establish a causeofaction againstthenon-diverse defendant.''Id

 k$A defendantalleging fraudulentjoinderhas the burden of proving the alleged fraud.''1d.
 (quotingAccordino v.Wal-M artStoresE.,LP,No.3:05-cv-761-J-32M CR,2005 W L 3336503,
 at*2 (M .D.Fla.Dec.8,2005)).Cd-l-hatburden isaheavy one.''1d.(citingPacheco dePerezv.
 AT&T Co.,139 F.3d 1368,l380 (11th Cir.1998)).Thedefendantmustshow thatthereisçsno
 possibility''thatthe plaintiff can establish a claim against the non-diverse defendant in state

 court.Stephensv.Petsmart,Inc.,No.8:0l9-cv-815-T-26TBM ,2009 W L 3674680,at*2 (M .D.

 Fla.Nov.3,2009)(citationsomitted).
        li-f'
            hedetermination ofwhetheraresidentdefendanthasbeenfraudulentlyjoinedmustbe
 based upon theplaintiffs pleadings atthe tim e ofremoval,supplem ented by any affidavits and

 deposition transcripts subm itted by the parties.''Pritchard v.W al-M artStores,Inc.,N o.8:09-cv-

 46-T-24TGW ,2009 W L 580425,at*2 (M .D.Fla.M arch 5,2009).çs-l-he Courtmustevaluate
 factualuncertaintiesin thelightmostfavorable to theplaintiffand resolveuncertaintiesaboutthe

 applicablelaw in theplaintiffsfavor.''Big LotsStores,Inc.,2011W L 3035269,at*2 (internal
 quotationsomitted).ti-l-he factthatthe plaintiffmay notultimately prevailagainsttheresident
 defendantdoes not mean that the residentdefendant has been fraudulently joined; only a
 colorable claim againstthe residentdefendantisneeded.''1d.

         PlaintiffarguesthatJam esReinard and Rachelle Periclesare Florida residents,destroying

  diversity.Defendants contend that Plaintiff fraudulently joined the store managers solely to
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evaderem oval.

                      a.      Jam esR einard,Store M anager

       A ccording to a sw orn declaration provided by Jam es Reinard, a store m anager at the

W al-M artstore where Plaintiffallegedly slipped and fell,M r.Reinard was notpresentin the

store or on the prem ises at the tim e of the alleged incident.ln Stephens v.Petsmart,an alm ost

identicaldispute arose- plaintiff slipped and fellin a Petsm artstore on a w et substance on the

tloor and Petsm artrem oved to federalcourt,at which point plaintiff sought to add two non-

diverse storem anagersto the suit.ln thatcase,the courtfound thatbecauseone ofthem anagers

was notpresentin the store atthe tim e ofthe alleged incident,he could notbe found liable.

Stephens,2009 W L 3674680,at*2.dsln Florida,there isno recognized cause ofaction foran in

absentia claim ofnegligentfailure to maintain gaJ store because Florida 1aw requiresthata
corporateofficeroragentbepersonally liable fornegligenceonly ifhe orsheparticipatesin the

tortious conduct.''fJ. H ere,because M r. Reinard w as not present at the tim e of the alleged

incident- and because Plaintiff has provided no sworn testim ony to the contrary- the Court

tlndsthatthere isSino possibility''thatPlaintiffwould be able to establish a claim againsthim in

state court.Accordino,2005 W L 3336503,at *2-3;H illary Joy Taylor D esalto v.Garden Fresh

Restaurants,LLC,No.18-61410(S.D.Fla.Od.10,2018).Forthatreason,theCourtfindsthat
Defendanthasmetitsheavy burden ofproving thatM r.Reinard,hasbeen fraudulentlyjoined
and his citizenship willnotbe considered forpurposes of determining diversity.1d.(citing
RussellPetroleum Corp.v.EnvironProds.,Inc.,333F.Supp.2d 1228,1231(M .D.Ala.2004)).
       The Courtadditionally finds thatbecause Florida 1aw doesnotrecognize an in absentia

claim ofnegligentfailure to m aintain a store,itis appropriate to grantthe DefendantReinard's

m otion to dism iss Count11ofPlaintiff s com plaint.
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                             RachellePericles,StoreM anager on Duty

       Rachelle Pericleswasthe assistantstore m anager on duty atthe W al-m artstore where

Plaintiffallegedly slipped and fellon July 1,2014. The liability ofan agentofa corporation is

bestdescribed in White v.Wal-M artStores,Inc., 918So.2d357(F1a.1stDCA 2006),wherethe

courtstated:

               (Oqfficersoragentsofcorporationsmay beindividually liable in
               tortif they comm itor participate in a tort,even iftheir acts are
               w ithin the course and scope of their em ploym ent. H ow ever, to
               establish liability,thecomplaining pal'
                                                     ty mustallege and provethat
               the officeroragentowed a duty to thecomplaining party,and that
               thedutywasbreachedthroughpersonal(asopposedtotechnicalor
               vicarious) fault. . .. gA)n oftker or agent may not be held
               personally liable simply because of his general adm inistrative
               responsibility for performance ofsome function ofhis (or herq
               employment- heorshem ustbeactively negligent.

       M oreover,ttgtlhe district courtmustresolve al1questions of fact in plaintiffs favor;
howevtr,when a dtftndant's aftidavits are undisputed by the plaintiff,the courtcannot then

resolve the fads in the plaintiffs favor based solely upon the unsupporttd allegations in the

plaintiff s com plaint.''Sci
                           p ione v.Advance Stores Co.,Inc., N o.8:12-cv-687-T-24-A EP,2012

W L 3105199,*3 (M .D.Fla.July 31,2012)(citingfegg v.Wyeth,428 F.3d 1317,1323 (11th
Cir.2005)).Thecourts'analysesandfindingsin Scl
                                             pionev.AdvanceStoresCo.,Inc.,Stephens
v.Petsm art,Inc.,and Pritchard v.Wal-M artStores,lnc.are instructive in this case. Forexam ple,

in Sclk
      pione,an almost identicalcase involving a slip-and-fallaccident,the courtfound that
plaintiffcould notadd theassistantstore managerasa defendantbecauseplaintiffdid notdispute

the assistant store m anager's sw orn declaration denying that he had any know ledge of the

condition thatcaused plaintiff's accident.Id ,20l2 W L 3105199,at *4. Likewise,in Stephens v.

Petsmart,lnc.,the courtfound thatalthough the presentation m anager w aspresenton the day in

question,the affdavitsdem onstrated thathe had no priorknowledge ofthehazardouscondition
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in the store and thatthere was Slno possibility''thata cause ofaction could be asserted against

him in his individualcapacity.Stephens,2009 W L 3674680, at *2.
                                                              ,see also Pritchard v. W al-

MartStores,Inc.,2009 W L 580425,at*3(findingthatthemanagerof astorein aslip-and-fall
case had been fraudulently joined because plaintiff failed to point to any evidence that
controvertedthemanager'ssworndeclarationstatingthatshewasnotactivelynegligent).
       Plaintiffs Am ended Complaint does not contain factual allegations that Pericles was

personally atfault or actively negligent. Plaintiff does notallege facts showing thatPericles

caused grapesto be on the floor,wastold the grapes were on the floor,knew or should have

known aboutthegrapesbeing on thefloor,orwasin thearea ofPlaintiffsincidentpriorto same

in order to correct it. H ere, like in the cases cited above, D efendant has provided a sw orn

declaration of M s. Pericles, refuting Plaintiffs conclusory allegations in the Am ended

Complaint.M ore specifically,the declaration statesthat(1)M s.Pericleswas notin the area
wheretheincidentoccurred priorto Plaintiffsfallorduring the incident:(2)M s.Periclesand
hcrtrained employeesvisually inspectthe storefortransitory substancesand hazards;and (3)
M s.Pericles had no prior knowledge of the dangerous condition,nor did she participate in the

incident.BecausePlaintiffhasnotsubm itted any evidenceto theeontrary,thereisno question of

fad to resolve. Absentevidence she personally partidpated in tortious condud,M s.Pericles

calm ot be held personally liable for negligence under Florida law.See Scipione, 2012 W L

2105199,at*4.The evidence beforethe Courtindicatesthatthere isno possibility thatPlaintiff

can establish a cause ofaction againstM s.Pericles.Forthisreason,Defendanthasagain m etits

high burdenofestablishingfraudulentjoinderandM s.Pericles'scitizenshipwillthereforenotbe
considered forpurposes ofdeterm ining diversity.

      In addition, the Court tinds that because Plaintiff's Am ended Com plaint lacks the
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requisite factual allegations about specific acts or omissions by M s. Pericles individually,

dismissalofCount111isappropriate.

        B.     W al-m art's M otion to D ism issN egligentM ode ofO peration C laim


        Inaddition tomovingtodismissbasedon fraudulentjoinder,W al-martmovesto dismiss
Plaintiff's amended com plaintarguing there isno cognizable negligentmode ofoperation claim

underFlorida law . The negligentm ode ofoperation theory allow sa plaintiffto recoverby show ing

thata defendantfailed to exercise reasonable care in selecting a m ode ofoperation, w ithoutshow ing

thatthe defendanthad actualorconstructive know ledge ofthe dangerouscondition. See M arkowitz v.

Helen Homesof KendallCorp.,826 So.2d 256,259-60 (Fla.2002).Thisisno longerthelaw in
Florida in slip-and-fallcases involving transitory substances. Khorran v.Harbor FreightTools USA ,

lnc.,251So.3d962(Fla.3dDCA 2018)('$W erecognizethatthis(theelimination oftheknowledge
requirementlnolongerholdstrue in premisesliability casesinvolving aslip and fallonatransitory
foreignsubstance.'').Now,proofofactualorconstructiveknowledgeisanecessaryelementofaslip
andfallclaim.SeeSanchezv.ERMC ofAm.,LLC,2:l6-CV-851-FTM-99CM ,2017W L 417129,at
*4(M .D.Fla.Jan.31,2017)(grantingmotiontodismissnegligentmodeofoperation claim);Valles
v. Target Corp., No. l4-60723-Civ-Scola, 20l5 WL l640326,at *2 (S.
                                                                 D.Fla.Apr.9,2015)
(Essentially,underFlorida law,û'aperson claimingthatastorewasnegligentbynotcleaningup a
dangerouscondition m ustpresentsom e evidence thatthe dangerous condition . . . existed for such a

length oftim e that,in the exercise ofordinary care,the store would haveknown ofthe condition.''
                                                                                               ).
       Plaintiffarguesthatthe statute m erely added a knowledge requirem ent, butdid noteliminate

the cause of action in transitory substance cases. In enacting Fla.Stat.j 768.
                                                                             0755,the Florida
legislature specifically repealed the language of Fla. Stat. 768.0710, which had allow ed a

plaintiff to establish a claim for relief by showing a negligent mode ofoperation withoutthe

showing ofactualorconstructiveknowledge.Therefore, Plaintiff s argum ent thather negligent

                                                8
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 mode ofoperation claim survives undersubsection (2) ofthe statute is notsupported Si-f'he.



 statute elim inated a statutory cause ofaction, butpreselwed only comm on law claims''in cases

wherethereisatransitoly substanceonthefloorcausingplaintiffsinjury.Sanchezv ERMC of   .



Am ., LLC,N o.2:16-CV -851-FTM -99CM , 2017 W L 417129,at*4 (M .
                                                               D.Fla.Jan.31,2017).
TheEleventh Circuithasalso explained thatin thiscontext, aplaintiffm ustshow evidenceofthe

basic elem ents of a negligence action, and w hether there w as actual or constructive notice

concerns the elem entof breach ofthe duty of care. Vallot v.fogan '
                                                                  s Roadhouse, Inc.,567 F.

App'x 723,726 (1lth Cir.2014). Accordingly,the Courtgrants the motion to dismissthe
negligent mode of operation claim . ln so holding,the Plaintiff may proceed on a traditional

negligenceclaim againstDefendantW al-m art.

        DONE AND ORDERED in Chambers at M iami, Florida,this                    of Novem ber
                                                                       #

2018.                                                       . .'' -
                                                                           .
                                                                                *'-
                                                                           .

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                                           FEDE      Q.A'
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                                           UNITED jTATESDISTRICTJUDGE
Copiesfurnishedto:

CounselofRecord
